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            In the United States Court of Federal Claims
                                    No. 10-335 C

                                 (Filed June 4, 2010)

 * * * * * * * * * * * * * * * *            *
 OFFICE DEPOT, INC.,                        *
                                            *
                 Plaintiff,                 *
                                            *
            v.                              *
                                            *
 THE UNITED STATES,                         *
                                            *
                 Defendant,                 *
                                            *
 STAPLES, INC.,                             *
                                            *
                 Intervenor-defendant.      *

 * * * * * * * * * * * * * * * * *

                                      ORDER

       Staples, Inc. (Staples) today filed a motion to intervene in this bid protest.
This motion is unopposed according to the representations of the parties during a
conference call held June 3, 2010. Because Staples is the awardee of the contract
at issue in the subject matter, the court grants the motion.

      Accordingly, it is hereby ORDERED that Staples, Inc.’s Motion to
Intervene, filed June 4, 2010, is GRANTED.

                                                /s/Lynn J. Bush
                                                LYNN J. BUSH
                                                Judge
